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                     EXHIBIT C
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   5
       Counsel for Proposed Intervenors
   6
   7                                UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
   8
   9   JONATHAN HOANG TO, individually and           Case No. 24-cv-06447-WHO
       on behalf of all others similarly situated,
  10                                                 DECLARATION OF FRANK S.
  11                 Plaintiff,                      HEDIN IN SUPPORT OF PROPOSED
                                                     INTERVENORS’ TIME-SENSITIVE
  12      v.                                         MOTION TO INTERVENE AND TO
                                                     DISMISS OR, IN THE
  13   DIRECTTOU, LLC,                               ALTERNATIVE, TO TRANSFER OR
                                                     STAY THIS ACTION PURSUANT TO
  14                 Defendant,                      THE FIRST-TO-FILE RULE
  15
          and,                                       Date: November 6, 2024
  16                                                 Time: 2:00 PM
       DOUGLAS FELLER; JEFFRY HEISE;                 Judge: Hon. William H. Orrick
  17   JOSEPH MULL, individually and on behalf of    Courtroom: 2
       all others similarly situated,
  18
  19                 Proposed
                     Plaintiff-Intervenors.
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   1          I, Frank S. Hedin, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746 and

   2   based on my own personal knowledge, that the following statements are true:

   3          1.      I am the founding partner at the law firm Hedin LLP and a member in good standing

   4   of the Florida Bar and the State Bar of California, and I submit this declaration in support of

   5   Proposed Intervenors’ Time-Sensitive Motion to Intervene and to Dismiss or, in the Alternative,

   6   to Transfer or Stay this Action Pursuant to the First-To-File Rule and Incorporated Memorandum

   7   of Law.

   8          2.      From 2012 to 2013, I served as law clerk to the Honorable William Q. Hayes, U.S.

   9   District Judge for the Southern District of California. I then worked for four years at a law firm

  10   in Miami, Florida, where I represented plaintiffs and defendants in general commercial litigation

  11   and intellectual property matters.

  12          3.      I co-founded Hedin LLP, previously known as Hedin Hall LLP, in 2018.

  13          4.      My firm represents Douglas Feller, Jeffry Heise, and Joseph Mull, the Plaintiffs in

  14   the putative class action pending in the U.S. District Court for the Southern District of Florida

  15   titled Feller, et. al. v. Alliance Entertainment, LLC, et. al., No. 0:24-cv-61444-RAR (S.D. Fla.,

  16   filed Aug. 8, 2024) (hereinafter the “Feller Action”). A copy of the Complaint in the Feller

  17   Action is attached hereto as Exhibit 1.

  18          5.      The Feller Action alleges that Defendants Alliance Entertainment, LLC and

  19   DirectToU, LLC d/b/a Collectors’ Choice Music, Critics’ Choice Video, Movies Unlimited,

  20   DeepDiscount, and WOW HD (“Defendants”) violated the Video Privacy Protection Act

  21   (“VPPA”), 18 U.S.C. § 2710, et. seq., by disclosing the named plaintiffs’ and their other

  22   customers’ “Personally Identifying Information,” (“PII”), 18 U.S.C. § 2710(a)(3), without first

  23   obtaining informed written consent. (Ex. 1, ¶¶ 1-10). The Feller Complaint sets forth two distinct

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   1   means by which the Defendants violated the VPPA: (1) Defendants’ use of the Meta Pixel, a

   2   snippet of programming code embedded on several of Defendants’ direct-to-consumer websites,

   3   to send their customers’ prerecorded video purchases and personally identifiable information to

   4   Meta, and 2) by renting, selling, or otherwise disclosing their customers’ Personally Identifying

   5   Information to data aggregators, data miners, data brokers, data appenders, and other third parties

   6   through the sale or rental of lists from its customer database, including through the website

   7   Nextmark.com. (Ex. 1, ¶¶ 66-84). Thus, the Feller Action seeks to certify two classes:

   8           (a) The Data Brokerage Class: All persons in the United States who, during the two
                   years preceding the filing of this action, purchased prerecorded video material
   9               from Defendants and had their Private Viewing Information disclosed to a third-
                   party by Defendant.
  10

  11           (b) The Meta Pixel Class: All persons in the United States who, during the two
                   years preceding the filing of this action purchased prerecorded video material
  12               from Defendants’ websites while maintaining an account with Meta Platforms,
                   Inc. f/k/a Facebook, Inc.
  13
       (Ex. 1, ¶ 85).
  14
               6.       My firm has devoted significant time developing, investigating, and commencing
  15
       the Feller action against Defendant for violation of the Video Privacy Protection Act (“VPPA”),
  16
       18 U.S.C. § 2710. Beginning in 2019, my firm began investigating Defendants’ practices of
  17
       renting, selling, and otherwise disclosing its customer lists, which included names, addresses,
  18
       titles of videos purchased by, and various demographic and other personal information about each
  19
       of the persons who made purchases on their websites, and by studying Defendants’ practices of
  20
       transmitting personally identifying information and video-purchase information to Facebook,
  21
       now known as Meta, via the “Meta Pixel” technology they had installed on their websites.
  22
               7.       Specifically, prior to filing the Feller action, my firm: (i) thoroughly investigated
  23
       and reviewed current and historical versions of Defendants’ data cards publicly accessible on
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   1   Nextmark.com and other data-brokerage websites, over a period of several years dating back to

   2   2019; (ii) researched numerous online trackers created by different technology companies,

   3   including learning how they operate, how to find them in website source code, and how to identify

   4   what information is being tracked and transmitted; (iii) consulted with experts to investigate

   5   Defendants’ numerous websites and their use of tracking technologies, including the Meta Pixel

   6   technology, on those website, including parsing through Defendants’ websites’ source code; (iv)

   7   researched whether Defendants’ use of such tracking pixels violated the VPPA; and (v)

   8   communicated with and reviewed materials provided by numerous potential clients who

   9   interacted with and made purchases on Defendants’ websites, in order to determine whether they

  10   were capable of adequately representing the interests of the proposed classes.

  11          8.      After performing this time-consuming pre-filing work, my firm was retained in

  12   July 2024 by Douglas Feller, Jeffry Heise, and Joseph Mull to prosecute claims against

  13   Defendants for violation of the VPPA on behalf of themselves and others similarly situated, and

  14   shortly thereafter prepared and filed the Class Action Complaint on behalf of the proposed classes.

  15          9.      Since the very outset, my firm has vigorously litigated the Feller action on behalf

  16   of Plaintiffs and the putative classes, including by serving comprehensive written discovery

  17   requests to Defendants, serving notices of deposition to Defendants’ corporate representatives,

  18   serving third-party subpoenas for documents and deposition testimony to relevant third parties,

  19   consulting with potential experts, and preparing motions and other filings. The parties’ Rule 26

  20   conference occurred on August 30, 2024, the Rule 26 conference report was field on September

  21   9, 2024, and the Court entered its first Order Setting Jury Trial on September 10, 2024. On

  22   September 12, 2024, Plaintiffs’ counsel served Plaintiffs’ first sets of requests for production of

  23   documents and interrogatories on Defendant, seeking razor-focused categories of information,

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   1   documents, communications, and electronically-stored information concerning each of the factual

   2   and legal issues relevant to their claim for violation of the VPPA, Defendants’ likely defenses

   3   thereto, and the certification of the proposed classes pursuant to Rule 23. On September 13, 2024,

   4   Plaintiffs’ counsel served notices of deposition of Defendants’ corporate representatives for

   5   November 15, 2024.

   6          10.     On September 6, 2024, Plaintiffs and Defendants agreed to attend a mediation to

   7   explore early class-wide resolution of the Feller action before the Honorable James F. Holderman

   8   (Ret.) (JAMS, Chicago), formerly a district judge in the Northern District of Illinois, on the

   9   condition (negotiated by Hedin LLP) that Defendants would agree to provide various

  10   information and materials to them in advance of the mediation that were necessary for us to

  11   intelligently negotiate on behalf of members of the putative classes. This information and material

  12   included the precise sizes of the two classes, the form and contents of the personally identifying

  13   and video purchase- related information pertaining to Plaintiffs and class members that

  14   Defendants transmitted to the various third-party recipients of the information during the

  15   applicable statutory period, and all applicable or potentially applicable policies of insurance.

  16          11.     Ahead of the parties’ mediation scheduled for October 10 before Judge

  17   Holderman, my firm prepared and exchanged with Defendants’ counsel and Judge Holderman a

  18   comprehensive mediation statement outlining Plaintiffs’ positions on various legal and factual

  19   issues relevant to the merits of the claims and defenses and issues of class certification. My firm

  20   and Defendants’ counsel also participated in a lengthy pre-mediation conference with Judge

  21   Holderman. During that conference, Defendants’ counsel informed Plaintiffs’ counsel that no

  22   settlement discussions had occurred between Defendants and the plaintiff in the instant second-

  23   filed Hoang To action.

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   1          12.     On October 10, 2024, following our receipt of information and materials from

   2   Defendants bearing, inter alia, on issues of class size and insurance, the parties participated in a

   3   full day of mediation before Judge Holderman. Although we mediated for nearly a full day, we

   4   were unable to reach a proposed class-wide settlement at the mediation and Judge Holderman

   5   declared an impasse.

   6          13.     For over more than a week following the mediation, the parties, with the continued

   7   assistance of Judge Holderman, continued to engage in what my colleagues and I (and Judge

   8   Holderman) believed at the time to be good-faith settlement negotiations. Specifically, on

   9   October 16, 2024, six days after the parties’ mediation, I exchanged e-mail correspondence and

  10   then spoke by telephone with Judge Holderman, during which I asked Judge Holderman to convey

  11   a settlement demand to Defendants’ counsel, which I believed would meaningfully advance the

  12   parties’ progress towards a proposed resolution on behalf of the classes. Later that same day, after

  13   presenting Plaintiffs’ demand to Defendants’ counsel by phone, Judge Holderman telephoned me

  14   to convey a counter settlement offer that Defendants had authorized him to convey. Over the next

  15   two days, I spoke by phone and exchanged e-mail correspondence with Judge Holderman on

  16   multiple occasions concerning Defendants’ latest settlement offer, and on October 18, 2024, I

  17   conveyed another counter settlement demand to Judge Holderman and asked that he present it to

  18   the Defendants’ counsel. Later that same day, Judge Holderman sent me an e-mail confirming

  19   that he had presented Plaintiffs’ latest demand to Defendants’ counsel by phone. I followed up

  20   with Judge Holderman on October 22, 2024, and yet again on October 23, 2024, to see whether

  21   he had received any response from Defendants’ counsel, and on both occasions Judge Holderman

  22   advised me that he had telephoned Defendants’ counsel but had received no answer, that he had

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   1   left voicemails for them but had still not heard back from them, and that he would try to contact

   2   Defendants’ counsel yet again on October 24, 2024.

   3          14.     At the same time as these settlement discussions overseen by Judge Holderman

   4   were occurring, my colleagues and I also continued to push the Feller action forward on multiple

   5   fronts. Immediately following the conclusion of the mediation on October 10, 2024, Arun G.

   6   Ravindran of my firm confirmed with Defendant that the agreed-upon discovery stay (which had

   7   been in effect since the date the parties agreed to mediate) had ended. On October 14, 2024,

   8   Plaintiffs’ counsel served a third-party subpoena for documents and deposition testimony to Meta

   9   on Defendants’ counsel by e-mail, and then promptly arranged for the subpoena to be formally

  10   served on Meta. On October 16, 2024, Meta served its initial responses and objections to the

  11   subpoena and, later that same day, I initiated a meet and confer process with Meta’s counsel to

  12   discuss Meta’s responses and objections to the subpoena. On October 19, 2024, I conferred further

  13   with Meta’s counsel concerning the timing of its deposition. On October 17, 2024, I served a third-

  14   party subpoena for documents to Data-Axle Inc. (a data company that, as our investigation had

  15   revealed, served as one of Defendants’ list managers and/or brokers during the relevant statutory

  16   period) on Defendants’ counsel by e-mail, and then promptly arranged for formal service of the

  17   subpoena on Data-Axle, setting a deadline for Data-Axle to respond of November 18, 2024. On

  18   October 25, 2024, Mr. Ravindran exchanged correspondence with counsel for Data Axle

  19   regarding Data Axle’s response to the subpoena and production of documents.

  20          15.     Additionally, over the course of a 10-day period beginning on October 14, 2024,

  21   continuing through October 24, 2024, my colleagues and I repeatedly attempted to schedule a

  22   meet and confer conference with Defendants’ counsel concerning, inter alia: (1) Defendants’

  23   position on a motion for appointment of interim counsel that Plaintiffs’ counsel had advised

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   1   Defendants’ counsel it intended to file; (2) Defendants’ intentions with respect to the Hoang To

   2   matter, including the nature of the responsive pleading it intended to file in that case and whether

   3   it would seek to dismiss, stay, or transfer the case on the grounds that it had previously articulated

   4   (namely, that it was duplicative of the earlier-filed Feller case); and, relatedly, (3) Defendants’

   5   position on a motion to intervene and to stay or dismiss the Hoang To matter that Plaintiffs’

   6   counsel had indicated it would file to protect the interests of class members in the event DirectToU,

   7   LLC, the defendant in that case, did not intend to seek such relief in response to the plaintiff’s

   8   complaint.

   9          16.     First, on October 14, 2024, Mr. Ravindran of my firm made the first of several

  10   requests to confer on Defendants’ position regarding the Hoang To case. Exhibit 3 hereto, at 1.

  11   Having received no response, on October 15, 2024, Mr. Ravindran again requested to meet and

  12   confer with Defendants’ counsel that week (e.g., the week ending October 18, 2024), both with

  13   respect to Defendants’ intentions with respect to the duplicative Hoang-To matter and on

  14   Defendants’ position on Plaintiffs’ forthcoming motion to be appointed interim class counsel in

  15   the Feller action. Exhibit 2 hereto, at 5. Plaintiffs’ counsel followed up that same day seeking to

  16   meet and confer on Defendants’ position on Plaintiffs’ forthcoming motion to be appointed

  17   interim class counsel. Exhibit 4 hereto, at 1. Later on October 15, 2024, Defendants’ counsel

  18   inexplicably responded to Plaintiffs’ counsel by asking for “a description of the substance” of the

  19   conference being requested. Ex. 2 at 4–5. Plaintiffs’ counsel immediately responded, stating:

  20          1.     Defendants’ position on Plaintiffs’ forthcoming motion seeking interim
              appointment as class counsel.
  21
              2.     Defendants’ intent with respect to the Hoang matter. Specifically, Plaintiff
  22          wants to discuss whether Defendant intends to dismiss Hoang under the first-filed
              doctrine or to move to transfer Hoang to the SDFL. Alternatively, we’d like to
  23          discuss Defendants’ position on a motion by Plaintiffs to intervene in

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    1           the Hoang matter and a potential motion by Plaintiffs to dismiss the Hoang case on
                first filed grounds.
    2
        Ex. 2 at 4.
    3
                17.    On October 16, 2024, Defendants’ counsel responded to our e-mail
    4
        correspondence by stating that she would confer with her client.     Ex. 2 at 3. Later that day,
    5
        Plaintiffs’ counsel followed up with Defendants’ counsel once more – again, simply to propose a
    6
        date to have a meet and confer conference on these issues. Exhibit 6 hereto, at 1. Again,
    7
        Defendants’ counsel responded that she would reply with her clients’ position at some unspecified
    8
        future date.
    9
                18.    On October 21, 2024, having still not received Defendants’ positions on these
   10
        issues or their availability for a meet and confer call, Plaintiffs’ counsel advised Defendants’
   11
        counsel that Plaintiffs would file a motion seeking interim appointment as class counsel without
   12
        waiting any further, likely on Wednesday October 23, 2024, and that they would also file a motion
   13
        to intervene in the Hoang To matter and move to dismiss that case under the first filed doctrine.
   14
        Ex. 2 at 3.
   15
                19.    Defendants’ counsel did not respond to that communication and, later that day,
   16
        Plaintiffs’ counsel sent another e-mail to Defendants’ counsel regarding Defendants’ incomplete
   17
        initial disclosures, and again sought to confer telephonically on October 22, 2024. Exhibit 5
   18
        hereto, at 2. Once more, Defendants’ counsel refused to schedule a conferral and punted, stating
   19
        again they would need to discuss with their clients.
   20
                20.    On October 23, 2024, Plaintiffs’ counsel sent Defendants’ counsel a summary of
   21
        their attempts to meet and confer by email. Ex. 5 at 1-2. Plaintiffs’ counsel also left voicemails
   22
        to each of Defendants’ counsel of record, all of which went unreturned.
   23

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    1           21.    The next day, Defendants’ counsel responded by stating: “Let’s get a call on the

    2   calendar early next week to discuss the issues you’ve laid out. We are pretty open on Tuesday,

    3   10/29, so let us know a time that works for you.” Ex. 5 at 1. I then sent an e-mail to Defendants’

    4   counsel, stating as follows:

    5           Bonnie: We will be filing our motion for interim appointment today. And in the
                motion we will advise the court that you have refused to meet and confer with us
    6           or provide us with your position on our request for interim appointment after
                numerous e-mails and attempted phone calls over the past week+. If your client is
    7           willing to meet and confer with us today before we file, please let us know
                immediately. Thank you.
    8
        Ex. 2 at 2.
    9
                22.    In response to my e-mail – which, again, came after 10 days of Defendants’
   10
        counsel ignoring Plaintiffs’ counsel’s repeated efforts to communicate with them concerning each
   11
        of these important issues, and after five days of also ignoring Judge Holderman’s repeated efforts
   12
        to communicate with them as well (as recounted above) – Defendants’ counsel finally agreed to
   13
        meet and confer on these issues with Plaintiffs’ counsel by phone later that afternoon. During
   14
        this October 24, 2024, phone call, Defendants’ counsel informed Plaintiffs’ counsel that
   15
        Defendants had executed a class-wide settlement agreement with the counsel for the Hoang To
   16
        plaintiff the day before (October 23, 2024), that the proposed settlement memorialized in that
   17
        signed agreement purports to release the claims of all putative class members in the Feller action
   18
        (even though only the proposed classes in the Hoang To action are only a small subset of the
   19
        proposed classes here), that those releases will cover both of the Defendants in the Feller action
   20
        (even though only one of the Defendants here is named in the Hoang To action), that the plaintiff
   21
        in the Hoang To action would be filing a motion for preliminary approval on or about Monday,
   22
        October 28, 2024, and that Defendants would be filing a motion to stay the Feller action pending
   23
        resolution of the motion for preliminary approval in the Hoang To action. At no time on this call
   24

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    1   or otherwise did Defendants’ counsel ever request Plaintiffs’ position on Defendants’

    2   forthcoming motion to stay the Feller action. And when Plaintiffs’ counsel asked Defendants’

    3   counsel to provide them with a copy of, or to at least disclose the terms of, the class-wide

    4   settlement agreement that had been signed between Defendants and the Hoang To plaintiff and

    5   his counsel – information obviously necessary for Plaintiffs and their counsel to assess whether

    6   the settlement agreement provides fair, reasonable, and adequate relief to class members, and thus

    7   to determine whether they would oppose Defendants’ forthcoming motion to stay the Feller

    8   action or not – Defendants’ counsel flatly refused without explanation. We also indicated that we

    9   would nonetheless be filing the a motion for appointment of interim counsel in the Feller action,

   10   as well as a motion to intervene and to stay or dismiss the Hoang To action on first-filed doctrine

   11   grounds, and Defendants’ counsel stated that Defendants would oppose both motions. Later in

   12   the day following this call with Defendants’ counsel, I spoke with Judge Holderman by phone,

   13   who indicated he had just finally gotten ahold of Defendants’ counsel and they had just then

   14   advised him of the settlement agreement they had signed with the Hoang To plaintiff’s counsel.

   15          23.     Almost immediately after our call with Defendants’ counsel ended on October 24,

   16   2024, Defendants filed a motion to stay the Feller action pending resolution of the motion for

   17   preliminary approval of a class-wide settlement agreement that the plaintiffs would be filing in

   18   the instant Hoang To action. The motion to stay states, in pertinent part, that the parties in the

   19   Hoang To action signed a class-wide settlement agreement “on October 23, 2024” (ECF No. 36

   20   at 2), that the “[t]he settlement reached in the Hoang To action would, if approved by the Court,

   21   cover all claims asserted in this [Feller] case” (id. at 1), that “the Hoang To settlement is expected

   22   the release the claims of all putative class members in this [Feller] case” (id. at 4), and that “a

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    1   motion for preliminary approval of the proposed settlement will be filed early next week” in the

    2   Hoang To case (id. at 2).

    3          24.     Later in the day on October 24, 2024, I telephoned (but received no answer) and

    4   then emailed all counsel of record for the plaintiff in the Hoang To action in an effort to meet and

    5   confer on their position on this motion and the motion for interim appointment in the Feller

    6   action. See Exhibit 7 hereto. Counsel of record for the plaintiff in the Hoang To action, Adrian

    7   Barnes, responded that he was not familiar enough with the litigation to provide his client’s

    8   position on these issues, and that the other counsel of record for his client were unavailable until

    9   Monday October 28, 2024, because of the observation of a religious holiday. See id.

   10          25.     The reverse auction that Defendants orchestrated of the classes’ claims, and the

   11   willingness with which the plaintiff’s counsel in Hoang To appears to have gone along with it, as

   12   described above, is the most underhanded conduct that I have experienced in my 10-year career

   13   as a lawyer practicing in this area of law.

   14          26.     In addition to the work my firm has already performed in the Feller action, as

   15   noted above, a significant amount of litigation, including discovery, must occur prior to class

   16   certification and trial in the Feller case. Discovery will be complex, nuanced, and require

   17   substantial specialized knowledge and experience to perform effectively and efficiently. My

   18   firm’s thorough investigation into the claims in the Feller case, as well as its experience

   19   prosecuting numerous other similar data-privacy matters, will enable it to effectively build and

   20   prosecute the Feller case on behalf of the classes, including in discovery, motion practice, at class

   21   certification, and through trial and any appeals if necessary.

   22          27.     Notably, a significant amount of the discovery critical to the classes’ claims in the

   23   Feller action is in the possession of third parties, including Meta and Data Axle, both of which

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    1   my firm recently subpoenaed. It is critically important that these third parties, and any others with

    2   materials relevant to litigation in both cases, continue to preserve all such materials in their

    3   possession, custody, or control, and that Defendants’ filing of a motion to stay in the Feller action

    4   and the Hoang To plaintiff’s filing of motions in support of approval of his proposed class-wide

    5   settlement here does not result in these third parties disregarding their preservation obligations with

    6   respect to such materials.

    7           I declare, under penalty of perjury, pursuant to the laws of the United States of America

    8   that the foregoing is true and correct. Executed this 28th day of October 2024, in Miami, Florida.

    9

   10                                                                     /s/ Frank S. Hedin
                                                                          Frank S. Hedin
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   25                                DECLARATION OF FRANK S. HEDIN

   26
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                                            FIRM RÉSUMÉ


            Based in Miami, Florida, and with offices in San Francisco, California and Washington,
    D.C., Hedin LLP represents consumers and investors in class actions in state and federal courts
    nationwide. Our firm prosecutes difficult cases aimed at redressing injuries suffered by large,
    diverse groups of people. Over the past six years alone, we have recovered hundreds of millions
    of dollars and other meaningful relief for the consumers and investors we have had the privilege
    to represent.




                                        Representative Matters


           Notable examples of our work on behalf of consumers include:

       •   Rivera, et al. v. Google LLC, No. 2019-CH-00990 (Cir. Ct. Cook Cnty.) (class counsel in
           action alleging unauthorized collection of consumers’ biometric data in violation of state
           statute, negotiated $100 million all-cash non-reversionary settlement for class)

       •   Schreiber et al. v. Mayo Foundation for Medical Education & Research, No. 22-cv-00188
           (W.D. Mich.) (class counsel in action alleging unauthorized disclosure of consumers’
           purchase information in violation of state statute, negotiated $52.5 million all-cash non-
           reversionary settlement for class)

       •   Olsen, et al. v. ContextLogic Inc., No. 2019CH06737 (Ill. Cir. Ct. Jan. 7, 2020) (class
           counsel in action alleging nonconsensual transmission of text messages to consumers’
           telephones in violation of federal law, negotiated $16 million all-cash non-reversionary
           settlement for class)

       •   In re Everi Holdings, Inc. FACTA Litigation, No. 18CH15419 (Ill. Cir. Ct. Jan. 7, 2020)
           (class counsel in action alleging unauthorized printing of excess digits of consumer card
           numbers on transaction receipts in violation of federal law, negotiated $14 million all-cash
           non-reversionary settlement for class)




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       •   Owens, et al. v. Bank of America, N.A., et al., No. 19-cv-20614 (S.D. Fla.) (class counsel
           in action alleging improper overdraft fees in violation of state law, negotiated $4.95 million
           settlement for class)

       •   Liggio v. Apple Federal Credit Union, No. 18-cv-1059 (E.D. Va.) (class counsel in action
           alleging improper overdraft fees in violation of state law, negotiated $2.7 million
           settlement for class)

       •   Kokoszki v. Playboy Enterpises, Inc., No. 19-cv-10302 (E.D. Mich.) (class counsel in
           action alleging unauthorized disclosure of consumers’ purchase information in violation of
           state statute, negotiated $3.8 million all-cash non-reversionary settlement for class)

       •   Pratt et al. v. KSE Sportsman Media, Inc., No. 21-cv-11404 (E.D. Mich.) (class counsel in
           action alleging unauthorized disclosure of consumers’ purchase information in violation of
           state statute, negotiated $9.5 million all-cash non-reversionary settlement for class)

       •   Chimeno-Buzzi v. Hollister Co., No. 14-cv-23120 (S.D. Fla.) (class counsel in action
           alleging nonconsensual transmission of text messages to consumers’ telephones in
           violation of federal law, negotiated $10 million all-cash non-reversionary settlement for
           class)

       •   Farnham v. Caribou Coffee Co., Inc., No. 16-cv-295 (W.D. Wisc.) (class counsel in action
           alleging nonconsensual transmission of text messages to consumers’ telephones in
           violation of federal law, negotiated $8.5 million all-cash non-reversionary settlement for
           class)

       •   Kain v. The Economist Newspaper NA, Inc., No. 21-cv-11807 (E.D. Mich.) (class counsel
           in action alleging unauthorized disclosure of consumers’ purchase information in violation
           of state statute, negotiated $9.5 million all-cash non-reversionary settlement for class)

       •   Strano v. Kiplinger Washington Editors, Inc., No. 21-cv-12987 (E.D. Mich.) (class counsel
           in action alleging unauthorized disclosure of consumers’ purchase information in violation
           of state statute, negotiated $6.8 million all-cash non-reversionary settlement for class)

       •   Moeller v. The Week Publications, Inc., No. 22-cv-10666 (E.D. Mich.) (class counsel in
           action alleging unauthorized disclosure of consumers’ purchase information in violation of
           state statute, negotiated $5 million all-cash non-reversionary settlement for class)




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       •   Benbow v. SmileDirectClub, Inc., No. 2020-CH-07269 (Cir. Ct. Cook Cnty.) (class counsel
           in action alleging nonconsensual transmission of text messages to consumers’ telephones
           in violation of federal law, negotiated $11.5 million all-cash settlement for class)

           Notable examples of our work on behalf of investors include:

       •   In re Maxar Technologies Inc. Shareholder Litigation, No. 19CV357070 (Cal. Sup. Ct.,
           Santa Clara Cnty.) (class counsel in action alleging false and misleading statements to
           investors in violation of federal securities laws, negotiated $36.5 million all-cash non-
           reversionary settlement for class)

       •   Plymouth County Retirement System v. Impinj, Inc., et al., No. 650629/2019 (N.Y. Sup.
           Ct., N.Y. Cnty.) (counsel in action alleging false and misleading statements to investors in
           violation of federal securities laws, negotiated $20 million all-cash non-reversionary
           settlement for class)

       •   In re Altice USA, Inc. Sec. Litig., No. 711788 (N.Y. Sup. Ct., Queens Cnty.) (counsel in
           action alleging false and misleading statements to investors in violation of federal securities
           laws, negotiated $4.75 million all-cash non-reversionary settlement for class)

       •   Plutte v. Sea Ltd., No. 655436/2018 (N.Y. Sup. Ct., N.Y. Cnty.) (counsel in action alleging
           false and misleading statements to investors in violation of federal securities laws,
           negotiated $10.75 million all-cash non-reversionary settlement for class)

       •   In re Menlo Therapeutics Inc. Sec. Litig., No. 18CIV06049 (Cal. Sup. Ct., San Mateo
           Cnty.) (counsel in action alleging false and misleading statements to investors in violation
           of federal securities laws, negotiated $9.5 million all-cash non-reversionary settlement for
           class)




                                          Attorney Biographies




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    Frank S. Hedin

            Frank S. Hedin, founder of the firm, is a member in good standing of the Florida Bar and
    the State Bar of California. Mr. Hedin received his Bachelor of Arts from University of Michigan
    and Juris Doctor, magna cum laude, from Syracuse University College of Law. After graduating
    from law school, he served for fifteen months as law clerk to the Honorable William Q. Hayes,
    United States District Judge for the Southern District of California. Prior to establishing the firm,
    Mr. Hedin was a partner at a litigation boutique in Miami, Florida, where he represented both
    plaintiffs and defendants in consumer and data-privacy class actions, employment-related
    collective actions, and patent and trademark litigation, and served as head of the firm’s class action
    practice.


    Arun G. Ravindran

            Arun G. Ravindran, a member in good standing of the Florida Bar and the New York State
    Bar, is an accomplished trial lawyer who has tried more than twenty federal cases to jury
    verdict. Mr. Ravindran received his Bachelor of Arts from Emory University, an Msc. from the
    London School of Economics, and his Juris Doctor from Emory University School of Law. After
    graduating from law school, he served as Captain and Judge Advocate in the United States Marine
    Corps, after which he served for one year as law clerk to the Honorable Patricia A. Seitz, United
    States District Judge for the Southern District of Florida. Following his clerkship, Mr. Ravindran
    served for nearly five years as an Assistant Federal Public Defender in the Southern District of
    Florida. Prior to joining Hedin LLP, Mr. Ravindran litigated commercial matters at a prominent
    Florida law firm.


    Elliot O. Jackson

           Elliot O. Jackson, a member in good standing of the Florida Bar and the New York State
    Bar, received his Bachelor of Science, cum laude, from Fayetteville State University, his Juris
    Doctor, cum laude, from Florida A&M University College of Law, and an L.L.M in fashion law
    from Fordham University, where he graduated first in his class and received the Judy and Dennis
    Kenny Award. Prior to joining the firm, Mr. Jackson served for two years as law clerk to the
    Honorable Mary S. Scriven, United States District Judge for the Middle District of Florida.




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    Tyler K. Somes

            Tyler K. Somes, a member in good standing of the State Bar of Texas and the District of
    Columbia Bar, received his Bachelor of Arts from The George Washington University and Juris
    Doctor, with honors, from The University of Texas School of Law. After graduating from law
    school, Mr. Somes worked at a prominent national law firm for several years, where he litigated
    complex antitrust, whistleblower, securities, and trade secrets matters. During a one-year hiatus
    from his prior firm, Mr. Somes served as law clerk to the Honorable Richard Wesley of the United
    States Court of Appeals for the Second Circuit.

    Julie E. Holt

           Prior to joining Hedin LLP, Julie Holt served as an Assistant Federal Public Defender in
    the Southern District of Florida for eight years. She is an experienced trial lawyer, having tried
    approximately 30 jury trials and numerous bench trials. In addition to her trial practice, she also
    represented clients on direct appeal, filing numerous petitions for writ of certiorari to the Supreme
    Court and arguing in the Eleventh Circuit Court of Appeals. She obtained her J.D. from Yale Law
    School in 2010, and her B.A. in Economics, summa cum laude, from Columbia University.




                                               Firm Offices


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       1395 Brickell Avenue            535 Mission Street                  1100 15th Street NW
       Suite 610                       14th Floor                          Suite 04-108
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                                                     Friday,
                                                     Friday, October
                                                             October 25,
                                                                     25, 2024
                                                                         2024 at
                                                                              at 12:42:05
                                                                                 12:42:05 Eastern
                                                                                          Eastern Daylight
                                                                                                  Daylight Time
                                                                                                           Time

  Subject:
  Subject:        Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management
  Date:
  Date:           Thursday, October 24, 2024 at 10:38:35 AM Eastern Daylight Time
  From:
  From:           Frank Hedin
  To:
  To:             DelGobbo, Bonnie Keane, Arun Ravindran, Griswold, Joel C.
  CC:
  CC:             jholt@hedinllp.com, Elliot Jackson, earribas@hedinllp.com
  Attachments:
  Attachments: image001.png, image002.png, image003.png, image004.png, image005.png, image006.png


 Yes. We will circulate a dial-in.

 Frank S. Hedin

 1395 Brickell Avenue, Suite 610
 Miami, Florida 33131
 Tel: + 1 (305) 357-2107
 Fax: + 1 (305) 200-8801



 From:
 From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
 Date:
 Date: Thursday, October 24, 2024 at 10:34 AM
 To:
 To: Frank Hedin <fhedin@hedinllp.com>, Arun Ravindran <aravindran@hedinllp.com>,
 Griswold, Joel C. <jcgriswold@bakerlaw.com>
 Cc:
 Cc: jholt@hedinllp.com <jholt@hedinllp.com>, Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
 Management

 Ok, we can call you this aOernoon around 2:30pm CT. Does that work?

 From:
 From: Frank Hedin <Uedin@hedinllp.com>
 Sent:
 Sent: Thursday, October 24, 2024 9:12 AM
 To:
 To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>; Arun Ravindran
 <aravindran@hedinllp.com>; Griswold, Joel C. <jcgriswold@bakerlaw.com>
 Cc:
 Cc: jholt@hedinllp.com; Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management

 No, we’re not waidng undl Tuesday of next week to meet and confer with you on this. We’ve been asking
 you to meet and confer on this for the past 2 weeks, and you have repeatedly ignored us. We will advise
 the court of your refusal to meet and confer in the modon we ﬁle today. Thanks.



 Frank S. Hedin

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 Fax: + 1 (305) 200-8801



 From:
 From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
 Date:
 Date: Thursday, October 24, 2024 at 10:09 AM
 To:
 To: Frank Hedin <fhedin@hedinllp.com>, Arun Ravindran <aravindran@hedinllp.com>,
 Griswold, Joel C. <jcgriswold@bakerlaw.com>
 Cc:
 Cc: jholt@hedinllp.com <jholt@hedinllp.com>, Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
 Management

 Hi Frank,

 We just responded to Arun separately. We’re happy to set up a call for Tuesday of next week and are
 pregy ﬂexible on dming that day if you want to let us know what works for you.

 Best,
 Bonnie

 From:
 From: Frank Hedin <Uedin@hedinllp.com>
 Sent:
 Sent: Thursday, October 24, 2024 9:07 AM
 To:
 To: Arun Ravindran <aravindran@hedinllp.com>; DelGobbo, Bonnie Keane
 <bdelgobbo@bakerlaw.com>; Griswold, Joel C. <jcgriswold@bakerlaw.com>
 Cc:
 Cc: jholt@hedinllp.com; Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management

 Bonnie: We will be ﬁling our modon for interim appointment today. And in the modon we will advise the
 court that you have refused to meet and confer with us or provide us with your posidon on our request
 for interim appointment aOer numerous e-mails and agempted phone calls over the past week+. If your
 client is willing to meet and confer with us today before we ﬁle, please let us know immediately. Thank
 you.


 Frank S. Hedin

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 Fax: + 1 (305) 200-8801



 From:
 From: Arun Ravindran <aravindran@hedinllp.com>
 Date:
 Date: Monday, October 21, 2024 at 3:13 PM
 To:
 To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>, Griswold, Joel C.
 <jcgriswold@bakerlaw.com>

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 Cc:
 Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com <jholt@hedinllp.com>,
 Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
 Management

 Good Afternoon Bonnie,

 Following up on the items below. We will be ﬁling motions regarding items 2 and 3 on
 Wednesday and if we are unable to confer before then we will advise the Court that
 Defendant’s position could not be ascertained.

 Thanks,

 Arun G. Ravindran

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 Mob: +1 (321) 537-0029
 Fax: + 1 (305) 200-8801



 From:
 From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
 Date:
 Date: Wednesday, October 16, 2024 at 12:36 PM
 To:
 To: Arun Ravindran <aravindran@hedinllp.com>, Griswold, Joel C.
 <jcgriswold@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com <jholt@hedinllp.com>,
 Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
 Management

 Hi Arun,

 We are conferring with the client on these issues and will get back to you.

 Please conﬁrm we may ﬁle Judge Holderman’s email as our required mediadon report. If you want him
 to draO something else as the report, you will need to let him know as soon as possible since it is due
 tomorrow.

 Thanks,
 Bonnie

 From:
 From: Arun Ravindran <aravindran@hedinllp.com>
 Sent:
 Sent: Tuesday, October 15, 2024 3:56 PM
 To:
 To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>; Griswold, Joel C.
 <jcgriswold@bakerlaw.com>

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 Cc:
 Cc: Frank Hedin <Uedin@hedinllp.com>; jholt@hedinllp.com; Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management

 Hi Bonnie,

 We disagree that the second week of January works. As we noted in the motion you referenced –
 our pleadings amendment deadline of 12.22 contemplates deposing Defendants’ corporate rep.
 before the pleading amendment deadline. If moving the deposition forward towards the originally
 noticed 11/15 date helps, we are willing to discuss.

 At any rate, here are topics for a meet and confer:

    `. Deposition scheduling (as described above and in my prior email)
    c. Defendants’ position on Plaintids’ forthcoming motion seeking interim appointment as class
       counsel.
    e. Defendants’ intent with respect to the Hoang matter. Speciﬁcally, Plaintid wants to discuss
       whether Defendant intends to dismiss Hoang under the ﬁrst-ﬁled doctrine or to move to
       transfer Hoang to the SDFL. Alternatively, we’d like to discuss Defendants’ position on a
       motion by Plaintids to intervene in the Hoang matter and a potential motion by Plaintids to
       dismiss the Hoang case on ﬁrst ﬁled grounds.

 I agree, that the issue of initial disclosures is resolved by Defendants’ production of initial
 disclosures, as represented, on October 21, 2024.

 Please let me know when we can confer this week.

 Thanks,

 Arun G. Ravindran

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 Miami, Florida 33131
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 Mob: +1 (321) 537-0029
 Fax: + 1 (305) 200-8801



 From:
 From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
 Date:
 Date: Tuesday, October 15, 2024 at 2:59 PM
 To:
 To: Arun Ravindran <aravindran@hedinllp.com>, Griswold, Joel C.
 <jcgriswold@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com <jholt@hedinllp.com>,
 Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
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 Hi Arun,


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 Your modon asks that the class cert discovery deadline be moved to Feb. 7, so the second week of
 January would sdll work with that date if your modon is granted.

 We’ve also agreed to make our Rule 26(a) disclosures by 10/21, so I think that issue is resolved.

 To the extent you have other issue you wanted to discuss, will you please send us a descripdon of the
 substance of what you are requesdng?

 Best,
 Bonnie

 From:
 From: Arun Ravindran <aravindran@hedinllp.com>
 Sent:
 Sent: Tuesday, October 15, 2024 12:10 PM
 To:
 To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>; Griswold, Joel C.
 <jcgriswold@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <Uedin@hedinllp.com>; jholt@hedinllp.com; Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management

 Good Afternoon Bonnie,

 We cannot take the deposition of the Defendants corporate representatives in the second
 week of January. This is after the deadline for class certiﬁcation discovery of 1/7. We
 would be willing to add deposition scheduling to the meet and confer which we requested
 yesterday, October 14, 2024 and to work with you on nailing down a date in early
 December. Please let us know your availability to discuss that and the Hoang-To case this
 week.

 Thanks,

 Arun G. Ravindran

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 Miami, Florida 33131
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 Mob: +1 (321) 537-0029
 Fax: + 1 (305) 200-8801



 From:
 From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
 Date:
 Date: Tuesday, October 15, 2024 at 12:01 PM
 To:
 To: Arun Ravindran <aravindran@hedinllp.com>, Griswold, Joel C.
 <jcgriswold@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com <jholt@hedinllp.com>,
 Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case

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 Management

 Good morning Arun,

 The client is not available for deposidon in the December dmeframe but could be available the second
 week of January.

 Best,
 Bonnie

 From:
 From: Arun Ravindran <aravindran@hedinllp.com>
 Sent:
 Sent: Monday, October 14, 2024 3:22 PM
 To:
 To: Griswold, Joel C. <jcgriswold@bakerlaw.com>; DelGobbo, Bonnie Keane
 <bdelgobbo@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <Uedin@hedinllp.com>; jholt@hedinllp.com; Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management

 Great. Will mark this motion as unopposed and get on ﬁle.

 Arun G. Ravindran

 1395 Brickell Avenue, Suite 610
 Miami, Florida 33131
 Tel: + 1 (305) 203-4573
 Mob: +1 (321) 537-0029
 Fax: + 1 (305) 200-8801



 From:
 From: Griswold, Joel C. <jcgriswold@bakerlaw.com>
 Date:
 Date: Monday, October 14, 2024 at 4:21 PM
 To:
 To: Arun Ravindran <aravindran@hedinllp.com>, DelGobbo, Bonnie Keane
 <bdelgobbo@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com <jholt@hedinllp.com>,
 Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
 Management

 Thanks, Arun – yes, we agree to these proposed deadlines.

 Thanks,

 Joel

 Joel Griswold
 Partner


 One North Wacker Drive | Suite 3700


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 Chicago, IL 60606-2859
 T +1.312.416.6238

 jcgriswold@bakerlaw.com
 bakerlaw.com




 From:
 From: Arun Ravindran <aravindran@hedinllp.com>
 Sent:
 Sent: Monday, October 14, 2024 3:08 PM
 To:
 To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>; Griswold, Joel C.
 <jcgriswold@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <Uedin@hedinllp.com>; jholt@hedinllp.com; Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management

 Good Afternoon Bonnie and Joel,

 Please see attached the proposed order on the Motion to Extend Deadlines. We are under
 time pressure to ﬁle this motion because the pleading amendment deadline falls one week
 from tomorrow. As such, we will be ﬁling this this COB today. Unless we are able to obtain
 Defendant’s position, we note in our Rule 7.3 conference statement that we were unable to
 ascertain Defendant’s position at the time of ﬁling.

 Thanks,

 Arun G. Ravindran

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 Fax: + 1 (305) 200-8801



 From:
 From: Arun Ravindran <aravindran@hedinllp.com>
 Date:
 Date: Monday, October 14, 2024 at 9:34 AM
 To:
 To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>, Griswold, Joel C.
 <jcgriswold@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com <jholt@hedinllp.com>,
 Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
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 Thank you. Please advise on Defendant’s position regarding the extension.



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 Arun G. Ravindran

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 From:
 From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
 Date:
 Date: Friday, October 11, 2024 at 4:47 PM
 To:
 To: Arun Ravindran <aravindran@hedinllp.com>, Griswold, Joel C.
 <jcgriswold@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com <jholt@hedinllp.com>,
 Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
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 Hi Arun,

 The dates you’re proposing below for Plaindﬀs’ and Defendants’ wrigen discovery responses are ﬁne.
 We’d like undl 10/21 for inidal disclosures.

 We’re checking with the client on the other items and will circle back next week.

 Best,
 Bonnie

 From:
 From: Arun Ravindran <aravindran@hedinllp.com>
 Sent:
 Sent: Thursday, October 10, 2024 5:34 PM
 To:
 To: Griswold, Joel C. <jcgriswold@bakerlaw.com>; DelGobbo, Bonnie Keane
 <bdelgobbo@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <Uedin@hedinllp.com>; jholt@hedinllp.com; Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management


 [External Email: Use caution when clicking on links or opening attachments.]

 Good Evening Bonnie and Joel,

 Plaintids served initial discovery requests on September 12, 2024. Plaintid also provided
 its Rule 26(a) initial disclosures on September 12, 2024. Plaintid agreed to Defendants’
 request to pause its obligation to respond to discovery on September 17, 2024 pending the
 mediation. As such, I calculate the date for Defendants’ discovery responses as

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 November
 November 4,
          4, 2024
             2024.

 Defendants served discovery on October 4, 2024 during the agreed discovery pause. As
 set forth in my email of October 5, 2024, Plaintids understand their discovery response
 date to November
          November 11,11, 2024
                           2024, the Monday after November 9, 2024.

 Plaintid requested on September 12, 2024 that Defendant make its Rule 26 initial
 disclosures by September 19, 2024. Defendants did not respond to that request. Plaintids
 request that Defendant make its initial disclosures by Monday
                                                         Monday October
                                                                    October 14,
                                                                              14, 2024
                                                                                  2024. If
 Defendant will not produce its initial disclosures by then, Plaintids seek to confer. I am
 available all day tomorrow.

 With respect to the other dates please advise if Defendants have a diderent view.

 Plaintid will be seeking to modify the deadline to ﬁle an amended complaint by 60 days and
 all other court ordered deadlines by 30 days to account for the roughly one-month period
 pending mediation. Please advise Defendants’ position.

 Further, Plaintid will be seeking to re-notice Defendants’ corporate representative
 deposition to occur two weeks from November 15, 2024, on or about December 2, 2024.
 Please let us know availability so we can coordinate the exact date and time.

 Thanks very much,
 Arun G. Ravindran

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   From: Arun Ravindran aravindran@hedinllp.com
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management
    Date: October 14, 2024 at 16:34
      To: Griswold, Joel C. jcgriswold@bakerlaw.com, DelGobbo, Bonnie Keane bdelgobbo@bakerlaw.com
     Cc: Frank Hedin fhedin@hedinllp.com, jholt@hedinllp.com, Elliot Jackson ejackson@hedinllp.com


        HI Joel,

        What status hearing are you referencing?

        Also, are you or Bonnie available to confer on the Hoang To matter pending in
        NDCA this week? We’re generally available. Wednesday works well if that works
        on your side?


        Thanks,

        Arun G. Ravindran

        1395 Brickell Avenue, Suite 610
        Miami, Florida 33131
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        Mob: +1 (321) 537-0029
        Fax: + 1 (305) 200-8801


        From: Griswold, Joel C. <jcgriswold@bakerlaw.com>
        Date: Monday, October 14, 2024 at 4:27 PM
        To: Arun Ravindran <aravindran@hedinllp.com>, DelGobbo, Bonnie Keane
        <bdelgobbo@bakerlaw.com>
        Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com
        <jholt@hedinllp.com>, Elliot Jackson <ejackson@hedinllp.com>
        Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
        Management

        Thanks, Arun. Do you have any objection to us requesting that we be allowed to attend the
        Court status hearing remotely?

        Thanks,

        Joel

        Joel Griswold
        Partner


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        Chicago, IL 60606-2859
        T +1.312.416.6238

        jcgriswold@bakerlaw.com
        bakerlaw.com
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      From: Arun Ravindran <aravindran@hedinllp.com>
      Sent: Monday, October 14, 2024 3:22 PM
      To: Griswold, Joel C. <jcgriswold@bakerlaw.com>; DelGobbo, Bonnie Keane
      <bdelgobbo@bakerlaw.com>
      Cc: Frank Hedin <fhedin@hedinllp.com>; jholt@hedinllp.com; Elliot Jackson
      <ejackson@hedinllp.com>
      Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
      Management

      Great. Will mark this motion as unopposed and get on file.

      Arun G. Ravindran

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      Miami, Florida 33131
      Tel: + 1 (305) 203-4573
      Mob: +1 (321) 537-0029
      Fax: + 1 (305) 200-8801


      From: Griswold, Joel C. <jcgriswold@bakerlaw.com>
      Date: Monday, October 14, 2024 at 4:21 PM
      To: Arun Ravindran <aravindran@hedinllp.com>, DelGobbo, Bonnie Keane
      <bdelgobbo@bakerlaw.com>
      Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com
      <jholt@hedinllp.com>, Elliot Jackson <ejackson@hedinllp.com>
      Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
      Management

      Thanks, Arun – yes, we agree to these proposed deadlines.

      Thanks,

      Joel

      Joel Griswold
      Partner


      One North Wacker Drive | Suite 3700
      Chicago, IL 60606-2859
      T +1.312.416.6238

      jcgriswold@bakerlaw.com
      bakerlaw.com
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   From: DelGobbo, Bonnie Keane bdelgobbo@bakerlaw.com
 Subject: RE: Defendants' Initial Disclosures - Feller et. al., v. Alliance Entertrainment, et. al.
    Date: October 24, 2024 at 10:04 AM
      To: Arun Ravindran aravindran@hedinllp.com, Griswold, Joel C. jcgriswold@bakerlaw.com
     Cc: jholt@hedinllp.com, Frank Hedin fhedin@hedinllp.com, Elliot Jackson ejackson@hedinllp.com


        Hi Arun,

        Let’s get a call on the calendar early next week to discuss the issues you’ve laid out. We
        are pretty open on Tuesday, 10/29, so let us know a time that works for you.

        Best,
        Bonnie

        From: Arun Ravindran <aravindran@hedinllp.com>
        Sent: Wednesday, October 23, 2024 2:57 PM
        To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>; Griswold, Joel C.
        <jcgriswold@bakerlaw.com>
        Cc: jholt@hedinllp.com; Frank Hedin <fhedin@hedinllp.com>; Elliot Jackson
        <ejackson@hedinllp.com>
        Subject: Re: Defendants' Initial Disclosures - Feller et. al., v. Alliance Entertrainment, et. al.

        Hello Bonnie,
        This email is sent pursuant to L.R. 7.1(a) and sets forth Plaintiffs’ efforts to meet and confer on two
        unresolved discovery issues - setting a date certain for Defendants’ corporate representatives’
        depositions and the substance of Defendants’ initial disclosures.

        10.10.24 – Plaintiffs’ counsel seeks proposed availability for Defendants’ 30(b)(6) witnesses and
        offers December 2, 2024.
        10.11.24 – Defendants’ counsel advises they were checking with client representatives and would be
        back in touch
        10.15.24 – Defendants’ counsel advises Defendants’ representatives are unavailable in December
        and proposes the second week of January
        10.15.24 – Plaintiffs’ counsel requests to discuss by telephone deposition scheduling, filing the
        mediators report, and Defendants’ position on Plaintiffs’ counsels’ interim appointment motion
        10.15.24 – Defendants counsel requests a summary of topics for a meet and confer telephone call
        10.15.24 – Plaintiffs’ counsel provides a summary and again asks to set a meet and confer call
        10.16.24 – Defendants’ counsel advises that counsel is speaking with client representatives and
        would get back to Plaintiffs’ counsel
        10.16.24 – Plaintiffs’ counsel again asks to speak on the telephone to discuss deposition scheduling
        and proposes the parties discuss on Friday October 18, 2024 at 3:00 p.m.
        10.16.24 - Defendants’ counsel advises that counsel is speaking with client representatives and
        would get back to Plaintiffs’ counsel
        10.21.24 – Plaintiffs’ counsel writes to follow up on Defendants’ positions regarding interim
        appointment and Plaintiffs’ intervention in the later-filed Hoang To matter in NDCA and advises that
        Plaintiffs will be filing motions regarding interim appointment and for intervention on Wednesday
        10/23 noting Defendants’ position could not be ascertained.
        10.21.24 – Plaintiffs’ counsel requests to meet and confer telephonically at any time on 10.22.24
        regarding Defendants’ deficient Rule 26(a) disclosures served on 10.21.24.
        10.22.24 – Defendants’ counsel advises that counsel is speaking with client representatives and
        would get back to Plaintiffs’ counsel regarding the Rule 26(a) disclosures.

        As the above summary shows, Plaintiffs had made repeated attempts to confer on these issues
        before filing motions. The judge presiding over this case have made clear that conferral is not a
        “single email exchange between opposing counsel” (ECF No. 27 at 3) and that discovery disputes
        should not be brought to the Court until the parties “actually speak to one another (in person or via
        telephone or videoconference)[.]”. With that in mind, Plaintiffs have made repeated attempts to
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      telephone or videoconference)[.]”. With that in mind, Plaintiffs have made repeated attempts to
      discuss these matters but have been unsuccessful in trying to get Defendants’ counsel on the phone
      to discuss these outstanding issues. We are making a final attempt to discuss Defendant’s Rule
      26(a) disclosures and deposition scheduling. Please provide a date and time by which Defendants’
      will be prepared to have a telephone conversation to resolve these matters. Please note that if
      these matters are not resolved by COB October 25, 2024, Plaintiffs will be filing any required
      motions on Monday October 28, 2024.

      Thanks,

      Arun G. Ravindran

      1395 Brickell Avenue, Suite 610
      Miami, Florida 33131
      Tel: + 1 (305) 203-4573
      Mob: +1 (321) 537-0029
      Fax: + 1 (305) 200-8801


      From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
      Date: Tuesday, October 22, 2024 at 2:33 PM
      To: Arun Ravindran <aravindran@hedinllp.com>, Griswold, Joel C.
      <jcgriswold@bakerlaw.com>
      Cc: jholt@hedinllp.com <jholt@hedinllp.com>, Frank Hedin
      <fhedin@hedinllp.com>, Elliot Jackson <ejackson@hedinllp.com>
      Subject: RE: Defendants' Initial Disclosures - Feller et. al., v. Alliance
      Entertrainment, et. al.

      Hi Arun,

      We will discuss with the clients and circle back.

      Best,
      Bonnie

      From: Arun Ravindran <aravindran@hedinllp.com>
      Sent: Monday, October 21, 2024 10:38 PM
      To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>; Griswold, Joel C.
      <jcgriswold@bakerlaw.com>
      Cc: jholt@hedinllp.com; Frank Hedin <fhedin@hedinllp.com>; Elliot Jackson
      <ejackson@hedinllp.com>
      Subject: Defendants' Initial Disclosures - Feller et. al., v. Alliance Entertrainment, et. al.

      [External Email: Use caution when clicking on links or opening attachments.]

      Good Evening Bonnie and Joel,

      Plaintiffs write concerning Defendants’ initial disclosures served earlier today, October 21,
      2024.

      Under Fed. R. Civ. P. 26(a)(i) Defendants are obligated to disclose “the name and, if known,
      the address and telephone number of each individual likely to have discoverable
      information—along with the subjects of that information—that the disclosing party may use
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      information—along with the subjects of that information—that the disclosing party may use
      to support its claims or defenses, unless the use would be solely for impeachment[.”

      Apart from Plaintiffs and certain third-parties listed in Plaintiffs’ initial disclosures,
      Defendants identified “Corporate Representative of Alliance Entertainment, LLC” and
      “Corporate Representative, of DirectToU, LLC” as the only persons disclosed under R.
      26(a)(i).

      Defendant did not identify specific individuals, including individuals involved in their
      websites’ functionality (ECF 26 at 4), party or non-party individuals with knowledge of
      Defendants’ disclosures of customers’ PII to third parties, or, indeed, any specific individual
      at all upon whom Defendants will rely to support its defenses.

      Defendants’ merely naming “corporate representatives” does not satisfy their Rule 26(a)
      obligations. See e.g., Rogers v. Bank of Am., N.A., No. CIV.A. 13-1333-CM-TJ, 2014 WL
      4681031, at *6 (D. Kan. Sept. 19, 2014) (“Accordingly, the Court finds that Defendant's
      mere identification of individuals not by name but by a generic label that could apply to a
      number of its employees, such as Defendant's “corporate representative” or “records
      custodian,” is not sufficient to satisfy its initial disclosure obligations under Rule 26(a)(1)(A)
      (i).”); Hoffman v. MJC Am., Ltd, No. 4:18-CV-04169-LLP, 2019 WL 4933526, at *6 (D.S.D.
      Oct. 7, 2019) (“identification of “agents, employees and representatives of the parties” is
      wholly insufficient to comply with their obligation under Fed. R. Civ. P. 26(a)(1)(A)(i) to
      identify individuals likely to have discoverable information—along with the subjects of that
      information—that the disclosing party may use to support its claims or defenses, unless the
      use would be solely for impeachment.”).

      Fed. R. Civ. P. 37(a) applies to non-compliant Rule 26(a) disclosures and provides as
      follows:
      (c) Failure to Disclose, to Supplement an Earlier Response, or to Admit.
      (1) Failure to Disclose or Supplement. If a party fails to provide information or identify a
      witness as required by Rule 26(a) or (e), the party is not allowed to use that information or
      witness to supply evidence on a motion, at a hearing, or at a trial, unless the failure was
      substantially justified or is harmless. In addition to or instead of this sanction, the court, on
      motion and after giving an opportunity to be heard:
      (A) may order payment of the reasonable expenses, including attorney's fees, caused by
      the failure;
      (B) may inform the jury of the party's failure; and
      (C) may impose other appropriate sanctions, including any of the orders listed in Rule 37(b)
      (2)(A)(i)-(vi).

      Plaintiffs request to immediately meet and confer on Defendants’ deficient Rule 26(a)(i)
      initial disclosure. Plaintiffs made their initial disclosures on September 12, 2024 and
      requested on September 12, 2024 that Defendant make its Rule 26 initial disclosures by
      September 19, 2024. In the interim the parties agreed to mediate. Immediately upon the
      mediation reaching an impasse, Plaintiffs requested that Defendant make
      its initial disclosures by Monday October 14, 2024 and agreed to Defendants’ request to
      make their initial disclosures on October 21, 2024. However, Defendants’ disclosures do
      not comply with Rule 26(a) and Plaintiffs are incapable of determining the specific
      individuals that have knowledge concerning Defendants’ defenses.

      Plaintiffs’ counsel are generally available all day Tuesday October 22, 2024 to confer.

      Regards,
      Arun G. Ravindran
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      1395 Brickell Avenue, Suite 610
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      Fax: + 1 (305) 200-8801




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                                                   Filed Docket
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                                                                11/01/2024
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   From: Arun Ravindran aravindran@hedinllp.com
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management
    Date: October 15, 2024 at 14:09
      To: DelGobbo, Bonnie Keane bdelgobbo@bakerlaw.com, Griswold, Joel C. jcgriswold@bakerlaw.com
     Cc: Frank Hedin fhedin@hedinllp.com, jholt@hedinllp.com, Elliot Jackson ejackson@hedinllp.com


        Hello Bonnie and Joel,

        Further, can we discuss on the meet and confer call the mediators report as well as
        Defendant’s position on our firm seeking interim appointment as class counsel?
        Thanks,

        Arun G. Ravindran

        1395 Brickell Avenue, Suite 610
        Miami, Florida 33131
        Tel: + 1 (305) 203-4573
        Mob: +1 (321) 537-0029
        Fax: + 1 (305) 200-8801


        From: Arun Ravindran <aravindran@hedinllp.com>
        Date: Tuesday, October 15, 2024 at 1:10 PM
        To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>, Griswold, Joel C.
        <jcgriswold@bakerlaw.com>
        Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com
        <jholt@hedinllp.com>, Elliot Jackson <ejackson@hedinllp.com>
        Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
        Management

        Good Afternoon Bonnie,

        We cannot take the deposition of the Defendants corporate representatives in the
        second week of January. This is after the deadline for class certification discovery
        of 1/7. We would be willing to add deposition scheduling to the meet and confer
        which we requested yesterday, October 14, 2024 and to work with you on nailing
        down a date in early December. Please let us know your availability to discuss that
        and the Hoang-To case this week.

        Thanks,

        Arun G. Ravindran

        1395 Brickell Avenue, Suite 610
        Miami, Florida 33131
        Tel: + 1 (305) 203-4573
        Mob: +1 (321) 537-0029
        Fax: + 1 (305) 200-8801


        From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
           Case 3:24-cv-06447-WHO
           Case 3:24-cv-06447-WHO
Case 0:24-cv-61444-RAR              Document
                         Document 47-3
                                    Document  15-6
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                                  EXHIBIT
                                  EXHIBIT 6
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                                                                11/01/2024
                                                                   Page 2 ofPage
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   From: DelGobbo, Bonnie Keane bdelgobbo@bakerlaw.com
 Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management
    Date: October 16, 2024 at 13:34
      To: Arun Ravindran aravindran@hedinllp.com, Griswold, Joel C. jcgriswold@bakerlaw.com
     Cc: Frank Hedin fhedin@hedinllp.com, jholt@hedinllp.com, Elliot Jackson ejackson@hedinllp.com


        Here is the draft joint mediation report required by the court’s order, which will attach the
        mediator’s report required by local rules. Please add your signature block and then send
        back for us to file, or you can file after adding your signature block.

        We will get back to you on the other issues after we’ve confirmed our clients’ position.

        From: Arun Ravindran <aravindran@hedinllp.com>
        Sent: Wednesday, October 16, 2024 12:15 PM
        To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>; Griswold, Joel C.
        <jcgriswold@bakerlaw.com>
        Cc: Frank Hedin <fhedin@hedinllp.com>; jholt@hedinllp.com; Elliot Jackson
        <ejackson@hedinllp.com>
        Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
        Management

        Hello Bonnie,

        No objection to Defendant filing the email.

        With respect to deposition timing, can we set a time for a telephonic meet and confer
        regarding deposition scheduling. Plaintiffs intention is to resolve deposition scheduling this
        week so that if we need to involve the court we can do so as fast as practicable given the
        deadlines we are up against. Additionally, there is still the issue of Plaintiffs motion for
        interim appointment and the Hoang To case. I propose Friday at 3:00 p.m. Please let me
        know if that works and I will circulate a dial in.

        Thanks,

        Arun G. Ravindran

        1395 Brickell Avenue, Suite 610
        Miami, Florida 33131
        Tel: + 1 (305) 203-4573
        Mob: +1 (321) 537-0029
        Fax: + 1 (305) 200-8801


        From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
        Date: Wednesday, October 16, 2024 at 12:36 PM
        To: Arun Ravindran <aravindran@hedinllp.com>, Griswold, Joel C.
        <jcgriswold@bakerlaw.com>
        Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com
        <jholt@hedinllp.com>, Elliot Jackson <ejackson@hedinllp.com>
        Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
        Management

        Hi Arun,
           Case 3:24-cv-06447-WHO
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Case 0:24-cv-61444-RAR              Document
                         Document 47-3
                                    Document  15-7
                                        Entered
                                              15-7  Filed Docket
                                                on FLSD
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                                  EXHIBIT
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                                                Friday,
                                                Friday, October
                                                        October 25,
                                                                25, 2024
                                                                    2024 at
                                                                         at 13:14:34
                                                                            13:14:34 Eastern
                                                                                     Eastern Daylight
                                                                                             Daylight Time
                                                                                                      Time

  Subject:
  Subject:     Re: Alliance VPPA litigation - meet and confer
  Date:
  Date:        Thursday, October 24, 2024 at 6:01:13 PM Eastern Daylight Time
  From:
  From:        Frank Hedin
  To:
  To:          Adrian Barnes
  CC:
  CC:          jhammond@hammondlawpc.com, pblandler@hammondlawpc.com,
               acherniak@hammondlawpc.com, Elliot Jackson, Arun Ravindran, jholt@hedinllp.com, Tyler Somes,
               pbrandler@hammondlawpc.com
  Attachments:
  Attachments: image001.png, image001.png


 Adrian: We will advise the courts that we exchanged correspondence with you, one of the plain:ﬀ’s
 counsel of record in the Hoang To ac:on, to confer on our upcoming mo:ons, and that you advised us
 that you were not familiar enough with the case to provide a posi:on. Normally we would wait to ﬁle
 these mo:ons un:l aCer receiving a substan:ve response from one of the other counsel of record for
 your client who knows what’s going on in the case, but given recent developments that we recently
 learned about, we will be ﬁling our mo:ons tomorrow to protect the interests of class members in this
 li:ga:on.

 Incidentally, the email address I used for Ms. Brandler in my e-mails below, which you have now advised
 me is incorrect, is an e-mail address I copied and pasted from the signature block at the heading of the
 opera:ve complaint in the Hoang To ac:on -- so you may want to consider correc:ng that. I have added
 Ms. Brandler’s correct e-mail address, provided by you below, to this thread.

 Thanks.

 Frank

 Frank S. Hedin

 1395 Brickell Avenue, Suite 610
 Miami, Florida 33131
 Tel: + 1 (305) 357-2107
 Fax: + 1 (305) 200-8801



 From:
  From: Adrian Barnes <abarnes@hammondlawpc.com>
 Date:
  Date: Thursday, October 24, 2024 at 5:38 PM
 To:
  To: Frank Hedin <fhedin@hedinllp.com>
 Cc:
  Cc: jhammond@hammondlawpc.com <jhammond@hammondlawpc.com>,
 pblandler@hammondlawpc.com <pblandler@hammondlawpc.com>,
 acherniak@hammondlawpc.com <acherniak@hammondlawpc.com>, Elliot Jackson
 <ejackson@hedinllp.com>, Arun Ravindran <aravindran@hedinllp.com>,
 jholt@hedinllp.com <jholt@hedinllp.com>, Tyler Somes <tsomes@hedinllp.com>
 Subject:
  Subject: Re: Alliance VPPA litigation - meet and confer

 Frank,

                                                                                                              1 of 4
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 I am, unfortunately, not familiar enough with this case to answer your questions. I
 cannot consult with my colleagues who are familiar with this case given that they are
 observing Jewish holidays. If you would like to discuss these issues with my colleagues
 and to understand my firm's position you will have to wait until Monday.

 Adrian

 NB. Ms. Brandler's correct email address is pbrandler@hammondlawpc.com

 Adrian Barnes
 Counsel
 HammondLaw, PC
 1201 Pacific Avenue
 Suite 600
 Tacoma, WA 98402
 Main: 206-707-9366, 310-807-1666
 Direct: 510-316-9926
 Facsimile: 310-295-2385

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 On Thu, Oct 24, 2024 at 1:55 PM Frank Hedin <fhedin@hedinllp.com> wrote:

   Adrian: since you are also counsel of record on the case, perhaps you could tell me your client’s
   posi:on. Although you neglected to disclose our ﬁrst-ﬁled Feller case as a related maXer to the court
   presiding over your case – in either the civil cover sheet, a no:ce of related case, or otherwise --
   defendants’ counsel advised us several weeks ago that they made you aware of our case shortly aCer
   you ﬁled your case, that they asked you to dismiss your case in light of our earlier-ﬁled case, and that
   you refused to do so. You have thus had signiﬁcant :me to consider the issues of whether your case
   should be dismissed and of which aXorneys are best suited to represent the interests of the puta:ve
   classes. Given this background, and your status as one of plaini\f’s counsel of record, we intend to
   ﬁle our papers in both cases at noon tomorrow. If we do not have a response from you by then, we
   will advise the courts that we were unable to obtain your posi:on. Thanks.


   Frank S. Hedin

   1395 Brickell Avenue, Suite 610
   Miami, Florida 33131
   Tel: + 1 (305) 357-2107

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                                                                   Page 4 ofPage
                                                                            5    46 of 47


   Fax: + 1 (305) 200-8801



   From:
    From: Adrian Barnes <abarnes@hammondlawpc.com>
   Date:
    Date: Thursday, October 24, 2024 at 4:34 PM
   To:
    To: Frank Hedin <fhedin@hedinllp.com>
   Cc:
    Cc: jhammond@hammondlawpc.com <jhammond@hammondlawpc.com>,
   pblandler@hammondlawpc.com <pblandler@hammondlawpc.com>,
   acherniak@hammondlawpc.com <acherniak@hammondlawpc.com>, Elliot Jackson
   <ejackson@hedinllp.com>, Arun Ravindran <aravindran@hedinllp.com>,
   jholt@hedinllp.com <jholt@hedinllp.com>
   Subject:
    Subject: Re: Alliance VPPA litigation - meet and confer

   Mr. Hedin,

   My colleagues are unavailable today and tomorrow, and cannot be reached, due to
   their observance of religious holidays. The first opportunity they will have to respond
   to your email will be on Monday,

   Best,

   Adrian Barnes
   Counsel
   HammondLaw, PC
   1201 Pacific Avenue
   Suite 600
   Tacoma, WA 98402
   Main: 206-707-9366, 310-807-1666
   Direct: 510-316-9926
   Facsimile: 310-295-2385

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   all copies of the original message. Thank you.




   On Thu, Oct 24, 2024 at 12:58 PM Frank Hedin <fhedin@hedinllp.com> wrote:
      Counsel:
      We represent the plaintiYs and putative classes in Feller et al. v. Alliance
      Entertainment, LLC et al., case no. Case No. 0:24-cv-61444, pending in the Southern
      District of Florida; a copy of the complaint in the Feller case is attached. We


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      understand you represent a plaintiY in a duplicative, later-ﬁled VPPA case in N.D. Cal.,
      against one of the two defendants named in our case. We intend to ﬁle a motion for
      interim appointment of class counsel in our ﬁrst-ﬁled case, as well as a motion to
      intervene and to stay or dismiss your case in N.D. Cal. I tried reaching you by phone
      earlier today but was unable to reach you. Please let us know by noon tomorrow if you
      will consent to the relief sought in these motions or if you will oppose. Happy to
      answer any questions you may have about our forthcoming motions.
      Thanks.

      Frank S. Hedin

      1395 Brickell Avenue, Suite 610
      Miami, Florida 33131
      Tel: + 1 (305) 357-2107
      Fax: + 1 (305) 200-8801




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